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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

_____________________________________________________________________

                                )
UNITED STATES OF AMERICA        )
    Plaintiff,                  )
                                )
VS.                             )      CR. NO. 17-20151-TLP
                                )
FRED MCCASTER, JR.              )
    Defendant.                  )
                                )
_____________________________________________________________________

                             ORDER ON CHANGE OF PLEA

_____________________________________________________________________


     This    cause    came   on   to   be    heard   on   November   16,   2018,   the

Assistant    United    States     Attorney    Mark   Erskine   appearing     for   the

Government, and the defendant, Fred McCaster, Jr., appearing in person

and with counsel, Handle Durham, Jr. and Jonathan Mosley.

     With leave of the Court, the defendant entered a plea of guilty

to Counts 1 & 9 of the Indictment.              Plea colloquy was held and the

Court accepted the defendant’s plea.             Sentencing is set FRIDAY, MARCH

1st, 2019 at 1:30 P.M. in Courtroom No. 2, on the 11th floor before Thomas

L. Parker.

     Defendant is remanded to the custody of the U. S. Marshal.



     ENTERED this the 16th day of November, 2018.



                                       s/Thomas L. Parker
                                       THOMAS L. PARKER
                                       UNITED STATES DISTRICT JUDGE
